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                 EXHIBIT B
       TO THE DECLARATION OF ARPITA
    BHATTACHARYYA IN SUPPORT OF ASETEK
     DANMARK A/S’S MOTION FOR PARTIAL
            SUMMARY JUDGMENT




                                                                   Exhibit B
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                        UNITED STATES DISTRICT COURT

                    NORTHERN DISTRICT OF CALIFORNIA

                           SAN FRANCISCO DIVISION



ASETEK DANMARK A/S

                 Plaintiff and
                 Counterdefendant,       CASE NO. 3:19-cv-00410-EMC

           v.

COOLIT SYSTEMS, INC.,

                 Defendant and
                 Counterclaimant.

COOLIT SYSTEMS USA INC., COOLIT
SYSTEMS ASIA PACIFIC LIMITED,
COOLIT SYSTEMS (SHENZHEN) CO.,
LTD.,

                 Defendants,


CORSAIR GAMING, INC. and CORSAIR
MEMORY, INC.

                 Defendants.




REBUTTAL EXPERT REPORT OF DR. DAVID B. TUCKERMAN REGARDING NON-
   INFRINGEMENT OF U.S. PATENT NOS. 8,746,330; 9,603,284; AND 10,274,266




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I.     INTRODUCTION

1.     I am the same David B. Tuckerman who submitted an expert report in this case on
       November 3, 2021 (the “Invalidity Report”) at the request of counsel for Asetek Danmark
       A/S (“Asetek”) regarding invalidity of certain claims of U.S. Patent Nos. 8,746,330 (“the
       ’330 patent”); 9,603,284 (“the ’284 patent”); and 10,274,266 (“the ’266 patent”)
       (collectively “the Asserted CoolIT Patents”).

2.     I was asked by counsel for Asetek to consider and respond to certain opinions set forth in
       the expert report of Himanshu Pokharna, Ph.D., dated November 3, 2021, regarding
       infringement of the Asserted CoolIT Patents (the “Pokharna Infringement Report”). My
       opinions regarding non-infringement of the Asserted CoolIT Patents are set forth below
       in this Report (the “Non-Infringement Report”). In particular, this Non-Infringement
       Report addresses my opinions regarding allegations by Defendant and Counterclaimant
       CoolIT Systems Inc. (“CoolIT”) that certain Asetek products infringe the asserted claims
       of the Asserted CoolIT Patents.1, 2

3.     This Non-Infringement Report is based on information currently available to me. I
       understand that I may have an opportunity to supplement or amend my opinions based on
       further discovery and information provided in this case. Any citation to evidence in this
       Non-Infringement Report is intended to be exemplary, and not intended to be exhaustive.
       I reserve the right to create additional summaries, tutorials, demonstrations, charts,
       drawings, tables and/or animations that may be appropriate to supplement and
       demonstrate my opinions at trial. I also understand that I may have the opportunity to use

1
  The Pokharna Infringement Report is silent about whether the accused Asetek products infringe
the Asserted CoolIT Patents under direct or indirect theory of infringement.
2
  Although the Pokharna Infringement Report includes CoolIT’s infringement positions for the
previously-asserted claims of CoolIT’s ’567 patent and claims 1, 2, 5, and 9 of the ’266 patent,
those claims were found unpatentable by the PTAB. It is my understanding that the district court
judge has said that the claims found unpatentable/invalid by the PTAB would be severed from
the current case and would not go to trial. Therefore, I have not presented non-infringement
positions against the asserted claims of the ’567 patent and claims 1, 2, 5, and 9 of the ’266
patent in this Non-Infringement Report. I reserve the right to supplement my Non-Infringement
Report to present non-infringement positions against the ’567 patent claims and claims 1, 2, 5,
and 9 of the ’266 patent if those claims are found to be valid or otherwise becomes relevant to
this case at a later date.
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      the accused Asetek products to further demonstrate their structure and
      support/demonstrate my opinions in this Non-Infringement Report.

4.    In reaching the opinions set forth herein, I have reviewed and considered the products
      and materials identified in Exhibit A and all materials identified in my Non-Infringement
      Report, and I have also relied on my experience, education, and expertise. If I am called
      at trial to provide expert testimony regarding the opinions I have formed resulting from
      my research and investigation as set forth in this Non-Infringement Report, I intend to
      support or summarize my opinions with prepared appropriate visual aids, and refer to
      some or all of the documents and information cited in this Non-Infringement Report.

5.    I am being compensated at the rate of $475 per hour for my work on this case. My
      compensation does not depend on the outcome of this litigation.

6.    My qualification and relevant experiences are summarized in my Invalidity Report. That
      portion of my Invalidity Report is incorporated herein by reference. A copy of my CV is
      attached as Exhibit F to my Invalidity Report.

II.   SUMMARY OF OPINION

7.    It is my understanding that the Stipulation Regarding Representative Products dated May
      20, 2021 (“Stipulation,” Dkt. 254) provides the following:

      a.     The H55 is representative of the Asetek desktop products listed in Section I.B of
             CoolIT’s Second Amended Infringement Contentions and Disclosures dated
             September 11, 2020 (Dkt. No. 158-8) (“CoolIT Infringement Contentions”) that
             include Asetek’s Gen 4 pump design, and any Asetek data center or server
             products that use a split-flow design as in the Gen 4 design.

      b.     The H80i GT is representative of the Asetek desktop products listed in Section I.B
             of the CoolIT Infringement Contentions that include Asetek’s Gen 5 pump design,
             and any Asetek data center or server products that use a split-flow design as in the
             Gen 5 design.

      c.     The H100i PRO (RGB) is representative of the Asetek desktop products listed in
             Section I.B of the CoolIT Infringement Contentions that include Asetek’s Gen 6
             pump design, and any Asetek data center or server products that use a split-flow
             design as in the Gen 6 design.


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       d.      The NZXT Kraken X53 is representative of the Asetek desktop products listed in
               Section I.B of the CoolIT Infringement Contentions that include Asetek’s Gen 7
               pump design, and any Asetek data center or server products that use a split-flow
               design as in the Gen 7 design.

8.     It is my opinion that the H55, the H80i GT, the H100i PRO (RGB), and the NZXT
       Kraken X53, which are representative of the accused Asetek products, do not literally
       infringe the asserted claims of the Asserted CoolIT Patents.3 My opinions about the H55,
       the H80i GT, the H100i PRO (RGB), and the NZXT Kraken X53 products apply equally
       to the other accused Gen 4, Gen 5, Gen 6, and Gen 7 products, respectively.

9.     In particular, it is my opinion that:

       a.      The accused Gen 4, Gen 5, Gen 6, and Gen 7 Asetek products do not infringe the
               asserted claims 1, 4, 12, 14, and 15 of the ’330 patent.

       b.      The accused Gen 4, Gen 5, Gen 6, and Gen 7 Asetek products do not infringe the
               asserted claims 1, 3, 5, 15, and 20 of the ’284 patent.

       c.      The accused Gen 4, Gen 5, Gen 6, and Gen 7 Asetek products do not infringe the
               asserted claims 13 and 15 of the ’266 patent.

10.    In forming my opinions, I have considered the ’330 patent, the ’284 patent, and the ’266
       patent, the Court’s claim constructions, analyzed images of the H55, H80iGT, H100i
       PRO (RGB), and NZXT Kraken X53 products taken by counsel, as well as the other
       materials listed in Exhibit A. I have also disassembled and analyzed a Thermaltake Water
       3.0 Performer C (Gen 4) device, a H80i V2 (Gen 5) device, an ASUS ROG Strix LC 120
       (Gen 6) device, and a Kraken X53 (Gen 7) device, and compared them to the images of
       the H55, H80iGT, H100i PRO (RGB), and NZXT Kraken X53 products. The images
       taken by counsel and used in this Non-Infringement Report match the actual Gen 4, Gen
       5, Gen 6, and Gen 7 products analyzed by me.




3
 CoolIT has not accused infringement of the Asserted CoolIT Patents under the doctrine of
equivalents.
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III.   LEGAL STANDARD

       A.     General Matters

11.    In forming and expressing my opinions and considering the subject matter of the
       Asserted CoolIT Patents in view of the accused Asetek products, I am relying on certain
       legal principles that Asetek’s counsel in this case explained to me. My understanding of
       these concepts is summarized below.

12.    I understand that determining whether an accused product or method infringes a patented
       invention involves two steps. First, the asserted patent claims are construed to ascertain
       their proper scope. I understand that the Court’s claim constructions govern in this case.
       Second, the construed claims are compared to the allegedly infringing products or
       processes to determine whether those products or processes fall within the scope of the
       asserted patent claims either literally or under the doctrine of equivalents.

13.    I am further advised that an accused product or method literally infringes a patent claim if
       all the elements of the claim, as construed by the Court, are present in the accused
       product or method. If any element of the claim does not appear in the accused product or
       method exactly, that claim is not literally infringed.

14.    I am further advised that a claim is said to depend on another claim if it references that
       other claim. Such a dependent claim is understood to incorporate by reference all of the
       elements of the claim on which it depends. A claim that does not depend on any other
       claim is known as an independent claim. I understand that if an independent claim is not
       infringed by the accused product or process, then it is not possible for any other claim
       that depends on the independent claim to be infringed.

15.    I am further advised that a party may be accused of two types of indirect infringement:
       inducement and contributory infringement. Dr. Pokharna has not opined on induced or
       contributory infringement in his Infringement Report. Therefore, I have not addressed
       these topics in this Non-Infringement Report.




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      B.      Claim Construction

16.   In my Invalidity Report, I set forth my understanding of the Court’s orders on Claim
      Construction. That portion of my Invalidity Report (specifically Section V) is
      incorporated herein by reference. I have accepted and applied the Court’s claim
      constructions in my analysis.

      C.      Person of Ordinary Skill in the Art

17.   In my Invalidity Report, I set forth my understanding of the qualifications of a person of
      ordinary skill in the art at the time of the effective filing dates of the Asserted CoolIT
      Patents. That portion of my Invalidity Report (specifically Section VI) is incorporated
      herein by reference.

18.   As discussed in my Invalidity Report, the effective filing date of the asserted claims of
      the ’330 and ’284 patents and asserted claims 13 and 15 of the ’266 patent is August 9,
      2007.

IV.   NON-INFRINGEMENT ANALYSIS

19.   Below, I have reported separately on Asetek’s Generation 4, 5, 6, and 7 products because
      the design, structure, and internal construction of each Generation of Asetek products is
      substantially different from each other with respect to the Asserted CoolIT patents.
      Specifically, the manifolding of cooling liquid into and out of the cold plate (the “heat
      spreader plate”), which is the primary subject matter of the asserted CoolIT claims, is
      different in each of the Generation 4-7 products. Specifically, the positions and
      configurations of the alleged inlet and outlet headers and the alleged inlet and outlet
      ports, and the configuration of the plate or the gasket (which allegedly defines the
      claimed seal, the inlet into the microchannels, and the flow path through the cold plate)
      are different in each Generation of products. For example, the accused Asetek Gen 4
      products include a rigid metal plate over the microchannels and fins of the cold plate,
      whereas the accused Asetek Gen 5, 6, and 7 products have a compliant rubber gasket
      over the microchannels and fins. Likewise, the accused Asetek Gen 5 products have two
      inlets into the microchannel array on the cold plate, whereas the accused Asetek Gen 6
      and Gen 7 products have a single inlet and thus a different flow path through the cold
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      plate. Although each Generation of the accused Asetek products allegedly includes “split-
      flow,” the manner in which the alleged “split-flow” is implemented is different in each
      Generation of Asetek products.

20.   I have used the H55, the H80i GT, the H100i PRO (RGB), and the NZXT Kraken X53 as
      representative of the accused Asetek Gen 4, Gen 5, Gen 6, and Gen 7 products,
      respectively, in my analysis below.

      A.     The asserted claims of the ’330 patent are not infringed by the accused
             Asetek products

21.   As described in detail below, the accused Gen 4-7 Asetek products do not literally
      infringe the asserted claims 1, 4, 12, 14, and 15 of ’330 patent because each element of
      the claims, as construed by the Court, is not present in the accused Asetek products.

22.   Specifically, the limitation “the inlet defined by the housing opens to an inlet header . . .
      wherein a region of the inlet header is positioned adjacent a first side of the fins” of
      independent claim 1, the limitation “the inlet aperture [defined by the housing] opens to
      an inlet header region positioned adjacent a first side of the plurality of juxtaposed fins”
      of independent claim 12, and the limitation “the inlet [defined by the housing] opens to
      an inlet header region juxtaposed with a first side of the plurality of juxtaposed fins” of
      independent claim 14 are not present in each Generation of Asetek products. The accused
      Asetek products also do not include the limitation “a second portion of the inlet header
      extends transversely over the microchannels” of claim 15.

23.   Asetek’s Generation 4, 5, 6, and 7 products also do not meet the limitations “an elongate
      fluid inlet opening overlying and extending transversely relative to the plurality of
      microchannels . . . wherein the elongate fluid inlet opening defined by the plate extends
      between a proximal end and a distal end,” “an elongate aperture extending transversely
      relative to each of the plurality of juxtaposed microchannels,” “the inlet to the
      microchannels defined by the apertured plate extends between the first side and the
      second side [of the juxtaposed fins]” of claims 1, 12, and 14, respectively. Additionally,
      the limitation “the fluid inlet opening is positioned adjacent a central region of the



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      intended heat generating component contact region” of claim 4 is also not present in the
      accused Asetek Generation 4, 5, 6, and 7 products.

24.   Asetek’s Generation 5, 6, and 7 products also do not have the claimed “plate” over the
      microchannels.

             1.      The accused Asetek products do not include an “inlet header” region
                     as recited in the asserted ’330 patent claims

25.   Dr. Pokharna’s Infringement Report identifies two separate and distinct portions of the
      accused Asetek devices — the inlet opening to the microchannels (i.e., the inlet
      hole/opening in the gasket positioned above the microchannels) and the groove (i.e., the
      channel in the gasket that extends transversely over the microchannels — as the “inlet
      header,” as shown below.




      Pokharna Infringement Report, Exhibit A, at 11, 20, 25 (showing alleged “inlet header”
      of representative Gen 4 product)




      Id. at 38, 48, 57 (showing alleged “inlet header” of representative Gen 5 product)




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Id. at 69, 78, 87 (showing alleged “inlet header” of representative Gen 6 product)




Id. at 99, 109, 116 (showing alleged “inlet header” of representative Gen 7 product)

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26.   But the inlet opening to the microchannels, i.e., the opening/hole in the gasket through
      which cooling liquid flows into the groove and then to the microchannels, cannot be
      considered an “inlet header” region because the ’330 patent specifically teaches that the
      inlet header is separate and distinct from inlet opening 114 through which cooling liquid
      enters the microchannels. See ’330 patent, 3:66-4:3, 5:1-11. In CoolIT’s reply claim
      construction brief (Dkt. 115), CoolIT argued that the volume 112 (shown in green) above
      the inlet 114 (shown in orange) and the plate (shown with crosshatching) in annotated
      Figure 3, below, is part of the inlet header 112. Dkt. 115 at 11.




         Dkt. 115 at 11

27.   Specifically, CoolIT argued with reference to the annotated Figure 3 shown above that:

             [T]he inlet header 112 (green) is above the plate and the inlet
             opening 114 (orange), while the outlet header 126 (red) is above
             the plate and the outlet openings 124 (gold).

      Dkt. 115 at 11 (internal citations and quotations omitted). That is, CoolIT explicitly
      excluded inlet 114 from inlet header 112. See id. CoolIT’s expert cannot now argue that
      the inlet opening to the microchannels is part of the claimed “inlet header” to map the
      ’330 patent claims to Asetek’s products. That is, the portions indicated in the red squares
      in the images below cannot be considered a portion of the “inlet header” because these
      are the opening/aperture/inlet into the microchannels. To a person skilled in the art, these
      openings/holes are not “headers” because an inlet header creates a constant pressure
      volume and helps to distribute the flow of liquid into smaller channels, but the
      opening/aperture/inlet into the microchannels does not perform the function of a header.
      Rather, a person skilled in the art would understand the portions indicated in the red
      squares in the images below as simply passages, openings, or gaps in the gasket through

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      Thus, a person skilled in the art would not consider the groove in the gasket of the
      accused Asetek products as a portion of the claimed “inlet header.”

32.   Moreover, even if the groove is considered an “inlet header” (it should not be under
      CoolIT’s claims and the specification of the ’330 patent), no portion of the groove is
      “positioned adjacent a first side of the fins” as required by claim 1, or is “adjacent [or
      juxtaposed with] a first side of the plurality of juxtaposed fins” as required by claims 12
      and 14. For example, as shown below in the annotated images of a representative Gen 7
      device from Dr. Pokharna’s Infringement Report, a portion of the gasket and multiple
      fins — which are solid structures — extend between the groove and a first side of the fins
      (and the same applies to each of Gen 4, Gen 5, and Gen 6). Therefore, Dr. Pokharna is
      relying on the opening/inlet/aperture into the microchannels to meet the claim limitations
      requiring a first side of the fins to be “adjacent” or “juxtaposed with” a region of the inlet
      header. But, as discussed above, the opening/inlet/aperture into the microchannels is not
      an “inlet header” region.




                      Pokharna Infringement Report, Exhibit A, at 101 (purple annotations
                      added to show intervening solid structures between the groove on the
                      gasket and a first side of the fins)

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33.   In sum, the limitation “the inlet defined by the housing opens to an inlet header . . .
      wherein a region of the inlet header is positioned adjacent a first side of the fins” of claim
      1, the limitation “the inlet aperture [defined by the housing] opens to an inlet header
      region positioned adjacent a first side of the plurality of juxtaposed fins” of claim 12, and
      the limitation “the inlet [defined by the housing] opens to an inlet header region
      juxtaposed with a first side of the plurality of juxtaposed fins” of claim 14 are not present
      in any of the accused Asetek products because neither the opening/inlet/aperture into the
      microchannels, nor the groove in the gasket, can be considered the claimed “inlet header”
      region. That is, none of the accused Asetek products includes an “inlet header” region, or
      an “inlet header” region that is “adjacent” or “juxtaposed with” a first side of the fins, as
      required by independent claims 1, 12, and 14.

34.   Moreover, since neither the opening/inlet/aperture into the microchannels, nor the groove
      in the gasket, can be considered an “inlet header” region, the limitation “a second portion
      of the inlet header extends transversely over the microchannels” of claim 15 is not
      present in any of the accused Asetek products.

             2.      The accused Asetek products do not include an opening/aperture/inlet
                     into the microchannels that is defined by the plate and extends over
                     the microchannels between a first side and a second side of the fins

35.   Dr. Pokharna argues that the groove in the gasket plus the hole/opening in the gasket
      (through which cooling liquid enters the groove and then the microchannels) together
      form the claimed opening/aperture/inlet into the microchannels defined by the plate. But
      a person skilled in the art would not have understood the groove to be an
      opening/aperture/inlet. Rather, a person skilled in the art would have considered the
      groove as a header/manifold for distribution of cooling liquid into the microchannels
      (although it is not the claimed “inlet header” for the reasons discussed above).




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Pokharna Infringement Report, Exhibit A, at 9, 18, 24 (showing alleged “elongate fluid
inlet opening,” “elongate aperture,” and “inlet to microchannels” of representative Gen 4
product)




Pokharna Infringement Report, Exhibit A, at 31, 47, 53 (showing alleged “elongate fluid
inlet opening,” “elongate aperture,” and “inlet to microchannels” of representative Gen 5
product)




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      Pokharna Infringement Report, Exhibit A, at 64, 77, 83 (showing alleged “elongate fluid
      inlet opening,” “elongate aperture,” and “inlet to microchannels” of representative Gen 6
      product)




      Pokharna Infringement Report, Exhibit A, at 94, 107, 113 (showing alleged “elongate
      fluid inlet opening,” “elongate aperture,” and “inlet to microchannels” of representative
      Gen 7 product)

36.   My opinion that the groove in the gasket is not an “elongate fluid inlet opening,”
      “elongate aperture,” and “inlet to microchannels” is supported by the PTAB’s decision
      regarding Asetek’s US 10,078,354 patent where the PTAB found that the groove in the
      gasket in each of Asetek’s representative Gen 5, 6 and 7 products is not a “passage”
      through which cooling liquid flows from the upper/pump chamber to the lower/thermal
      exchange chamber. IPR2020-00523, Final Written Decision, at 23-24. In fact, during oral
      arguments for the IPR, Asetek’s counsel argued that CoolIT’s position is that the “groove


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      area is a passage. It’s an opening.” See IPR2020-00523, Oral Hearing Transcript, at
      29:23-33:18. But the PTAB disagreed with that. See id. In fact, when CoolIT’s counsel
      was asked to respond to whether the groove is a “passage,” he declined to agree that the
      “groove is a passage” and instead agreed with the PTAB that Asetek’s showing was
      deficient because the hole/opening in the gasket — which CoolIT’s counsel implied is the
      “passage” — is “on the periphery, on the perimeters” and not substantially central to the
      lower/thermal exchange chamber as required by the ’354 patent claims. Id. at 34:1-16.
      Dr. Pokharna’s position that the groove is an opening/aperture/inlet is inconsistent with
      CoolIT’s prior position with respect to Asetek’s products that the groove is not a
      “passage.” In my opinion, there is a difference between a “passage” and an
      “opening”/“aperture”/“inlet.” While the groove in the gasket is a “passage,” it is not an
      opening, an aperture, or an inlet into the microchannels as defined by CoolIT’s patents, as
      the groove does not extend through the entire thickness of the gasket.

37.   Moreover, the groove is defined by the gasket, not a “plate,” as required by claims 1, 12,
      and 14. As discussed below, a person skilled in the art would not consider the gasket as a
      “plate” because a plate is understood to be a solid, non-compliant structure. In contrast,
      the gasket in the accused Asetek products is made of a compliant rubber material and
      does not constitute a “plate” as that term is understood by those of skill in the art. In fact,
      CoolIT’s later patents, e.g., the ’567 and ’266 patents, specifically distinguish a plate
      from a compliant manifold (more on this below). This is yet another reason why the
      groove is not part of the opening/aperture/inlet into the microchannels.

38.   The hole/opening in the gasket, depicted by the red boxes below, are the actual
      opening/aperture/inlet into the microchannels. But the hole/opening in the gasket is not
      overlying and extending over the “plurality of microchannels” “between a proximal end
      and a distal end,” as required by claim 1. In fact, a person skilled in the art would not
      consider the hole/opening in the gasket as an “elongate” opening at all; rather, the
      hole/opening is short compared to the plurality of fins/microchannels. Similarly, a person
      skilled in the art would not understand the hole/opening in the gasket as an “elongate
      aperture extending transversely relative to each of the plurality of juxtaposed
      microchannels,” as required by claim 12, or as an “inlet to the microchannels defined by

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the apertured plate extend[ing] between the first side and the second side [of the
juxtaposed fins]” as required by claim 14. That is, the hole/opening in the gasket alone,
i.e., without the groove in the gasket, does not satisfy the limitations of independent
claims 1, 12, and 14.




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39.   It should be noted, moreover, that Dr. Pokharna is mapping the groove in the gasket as
      both an “inlet header” and as the claimed opening/aperture/inlet into the microchannels.
      Likewise, Dr. Pokharna is mapping the hole/opening in the gasket as both the claimed
      “inlet header” and as the claimed opening/aperture/inlet into the microchannels. In my
      opinion, the hole/opening in the gasket is simply an opening (not a header) through which
      cooling liquid flows into the groove and then into the microchannels. But it does not meet
      the limitations “an elongate fluid inlet opening overlying and extending transversely
      relative to the plurality of microchannels . . . wherein the elongate fluid inlet opening
      defined by the plate extends between a proximal end and a distal end,” “an elongate
      aperture extending transversely relative to each of the plurality of juxtaposed
      microchannels,” “the inlet to the microchannels defined by the apertured plate extends
      between the first side and the second side [of the juxtaposed fins]” of claims 1, 12, and 14

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       because it is not elongate and it does not extend over the plurality of microchannels
       between a first side and a second side of the fins. The groove in the gasket, on the other
       hand, is not an opening/aperture/inlet into the microchannels; rather, it is simply a
       header/manifold for distribution of liquid into the channels (but not the claimed “inlet
       header” as discussed above).

40.    Additionally, the limitation “the fluid inlet opening is positioned adjacent a central region
       of the intended heat generating component contact region” of claim 4 is also not present
       in the accused Asetek Generation 4, 5, 6, and 7 products. This is because the
       hole/opening in the gasket alone (without the groove in the gasket) is not positioned
       adjacent a central region of the “heat generating component contact region”; rather the
       hole/opening is positioned away from a central region of the “heat generating component
       contact region.”

              3.      The accused Asetek Gen 5, 6, and 7 products do not include a “plate”
                      positioned over the microchannels

41.    Independent claim 1 recites “a plate positioned over the distal ends of the plurality of
       fins,” independent claim 12 recites “a plate positioned over the juxtaposed fins,” and
       claim 14 recites “an apertured plate positioned over the microchannels.” Neither of these
       limitations is present in Asetek’s Generation 5, 6, and 7 products.

42.    CoolIT maps the compliant rubber gasket positioned over the fins and microchannels to
       the claimed “plate.” I disagree that a gasket can be considered a “plate.” In the context of
       CoolIT’s claimed invention and the specification of the ’330 patent, a person skilled in
       the art would consider a “plate” to be a flat piece of metal or other rigid material. In
       contrast, the gasket in Asetek’s products is a compliant (non-rigid) body.4 Moreover, a
       person skilled in the art would not likely refer to a compliant object as a “plate,” rather it
       would have been likely referred to as a gasket, elastomer, flexible seal, compliant
       member, compliant body, etc. (but not a plate). Therefore, in my opinion, the gasket in

4
 CoolIT’s expert, Dr. Pokharna, agrees that the gasket in Asetek’s Gen 5, 6, and 7 products is
compliant because he maps the terms “compliant member” and “manifold body defines a pair of
compliant surfaces” in the ’567 and ’266 patent claims to the gasket over the microchannels/fins.
See, e.g., Pokharna Infringement Report, Ex. C at 16, Ex. D at 19, 41, 64.
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      Asetek’s Gen 5, 6, and 7 products is not a “plate.” Rather, it is a compliant manifold body
      as disclosed and claimed in the ’567 and ’266 patents.

43.   Dr. Pokharna nevertheless maps the gasket in Asetek’s Gen 5, 6, and 7 products to both
      the claimed “plate” (in CoolIT’s ’330 patent claims, the ’284 patent claims, and claims 13
      and 15 of the ’266 patent) as well as the compliant manifold body disclosed and claimed
      in the ’567 and ’266 patents. I disagree with Dr. Pokharna’s mapping of the “plate” to the
      Asetek’s rubber gasket positioned over the microchannels and fins. The gasket is not a
      “plate” as that term would be understood by those skilled in the art.

44.   In fact, CoolIT’s later patents (e.g., the ’567 and ’266 patents) make a distinction between
      a “plate” and compliant member/manifold body over the fins and microchannels.
      CoolIT’s 2007 provisional (U.S. Provisional Application No. 60/954,987 filed on August
      9, 2007), to which the ’330 patent claims priority to, only described a plate 240
      positioned over the fins; there is no disclosure in the 2007 provisional that the “plate” can
      include a compliant gasket. For example, the 2007 provisional and the ’330 patent merely
      state that “[a] plate 240 may be installed over the walls 210 to close off the channels
      across the upper limits of walls 210.” ’330 patent, 6:65-66; 2007 provisional at 7. It was
      not until the 2011 provisional (U.S. Provisional Application No. 61/512,379 filed on July
      27, 2011) that CoolIT first described a “compliant insert 334” having “a pair of generally
      conformable, flat surfaces 367.” 2011 Provisional at 25, 29. CoolIT contrasted this
      “compliant insert 334” in the 2011 provisional to the earlier-disclosed “plate 240.” Id. at
      25-26. CoolIT explained that unlike the surfaces of plate 240, the conformable surfaces
      367 of the compliant insert can “conform[] to variations in height among the plurality of
      fins,” and thereby “can reduce or eliminate the need for secondary machining operations
      used to make the respective distal ends of the fins generally coplanar and compatible
      with, for example, the plate 240.” Id. at 25-26 (emphasis added); see also id. at 29.

45.   More specifically, CoolIT’s 2011 provisional, which introduces a compliant manifold
      body (i.e., compliant insert 334) for the first time, discloses the following:

             In a working embodiment, the [manifold] body 360 is formed of a
             compliant polymeric material that generally conforms to and seals

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              against adjacent surfaces. Any suitable material can be used to
              form the insert body 360, provided that the selected material is
              compatible with other components of the subassembly 300 and the
              selected working fluid.

              Id. at 26.

      Several pages later, the 2011 Provisional describes the benefits of compliant insert 334:

              By incorporating the compliant insert 334, secondary machining
              operations that would tend to dull the sharp apices 405 can be
              eliminated to reduce heat losses in the coolant, while still reducing
              or eliminating leakage between adjacent microchannels that might
              otherwise occur from using “raw” fins due to gaps that would be
              formed between the fins and, e.g., a generally planar plate 240.

46.   In the ’266 patent, CoolIT again distinguished the earlier-disclosed rigid plate 240 from
      the new compliant insert 334. The language in the ’266 patent is nearly identical to that in
      the 2011 provisional except that it explicitly described the plate over the microchannels
      as “rigid,” as shown by the relevant language underlined in the passages below:

              “The conformable surfaces 367 can reduce or eliminate the need for
              secondary machining operations used to make the respective distal ends of
              the fins generally coplanar and compatible with, for example, the a rigid
              plate 240.”

              Compare ’266 patent, 15:60-63 with 2011 Provisional, 26:2-5.

47.   Accordingly, CoolIT itself distinguishes a “plate” from a compliant member/manifold
      body. CoolIT cannot now argue that the claimed “plate” covers the compliant gasket used
      in Asetek’s Gen 5, 6, and 7 products. There is no written description support in the ’330
      patent to construe “plate” broadly to include both a rigid plate and a compliant manifold
      body.

48.   It is my understanding that in IPR2020-00825 against the ’266 patent, CoolIT has argued
      that because the tabs 242 on plate 240 of the 2007 provisional/’330 patent are bendable,
      the plate 240 is made of a compliant material. I disagree. First, the 2007 provisional/’330
      patent does not state that tabs 242 and plate 240 are made from the same material. While
      they could be made of the same material, they are not necessarily made of the same



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       material. Thus, the bendability of tabs 242 does not provide any inherent disclosure that
       plate 240 can be a compliant body.

49.    Second, CoolIT appears to take the position in IPR2020-00825 that almost any material
       that can bend or otherwise deform under application of force is a compliant material,
       regardless of the amount of force needed to bend/deform the material. That is not correct
       because bendability and compliancy are not the same thing. Even a stiff (rigid) material,
       e.g., an aluminum or steel plate, will bend upon application of sufficient force. Therefore,
       bendability of a material does not say anything about the compliancy of the material. In
       fact, “[c]ompliant (flexible) materials, by definition, have a low elastic modulus, and only
       minor stress is required for a considerable strain.” Vegas5 at 923, 924. Whereas “[s]tiff
       materials, by definition, have a high modulus of elasticity6 (i.e., considerable stress is
       needed for a minor deformation).” Id. That is, a stiff material “does not deform much
       when a stress is applied.” Id.; Ashby7 at 3:34 (“Under a given stress, a stiff material (e.g.,
       aluminum) strains only slightly; a floppy or compliant material (e.g., polyethylene)
       strains much more.”). Accordingly, “stiffness (rigidity) of an object” represents “the
       property of being inflexible and hard to distort,” whereas a compliant material is “flexible
       and easy to distort.” Vegas at 923, 924 (emphases added). Thus, contrary to CoolIT’s
       position, not all materials that are bendable/deformable are compliant because even a
       material that is stiff (rigid) — which is the inverse of compliant — will bend/deform
       under sufficient stress. Id. And as mentioned previously, in normal engineering parlance,
       “plate” is not a term that is used to refer to compliant objects.

50.    Third, the bendable tabs 242 would teach a person skilled in the art that tabs 242 and
       plate 240 are made of a stiff material (assuming they are made of the same material)



5
  Manuel R. Vegas & Jose L. Martin del Yerro, Stiffness, Compliance, Resilience, and Creep
Deformation: Understanding Implant-Soft Tissue Dynamics in the Augmented Breast:
Fundamentals Based on Materials Science, AESTH PLAST SURG 37:922-930 (2013).
6
  “‘Young’s modulus of elasticity,’ ‘elastic modulus,’ or ‘modulus of elasticity’” is “the
mathematical description of the stiffness of a material (i.e., its resistance to being deformed when
a force is applied to it)” and “the ratio between stress and strain.” Vegas at 923.
7
  Michael F. Ashby & David R. H. Jones, Engineering Materials 1: An Introduction to
Properties, Applications, and Design, Ch. 3:29-53, Ch. 8:115-133 (4th ed. 2012).
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      rather than a compliant material. This is because the 2007 provisional discloses that the
      tabs are bent permanently over the outermost microchannel walls during the
      manufacturing assembly process. See 2007 provisional at 14. A stiff material (e.g., steel,
      aluminum) will tend to undergo plastic (permanent) deformation due to its high modulus
      of elasticity, which means it will tend to maintain its bent shape when the applied force
      (stress) is released. In contrast, a compliant material (e.g., rubber, elastomer) will tend to
      undergo elastic (nonpermanent) deformation due to its low modulus of elasticity, which
      means it will tend to return to its original (e.g., unbent) shape when the applied stress is
      released. Therefore, the permanently bent tabs 242 would have indicated to a skilled
      artisan that the tabs (and by extension plate 240) are stiff, rather than compliant, so that
      tabs 242 would retain their bent shapes during the assembly process.

51.   At bottom, neither the 2007 provisional nor the ’330 patent provides any disclosure of a
      compliant manifold body, e.g., the gasket in Asetek’s Gen 5, 6, and 7 products. Nor does
      the 2007 provisional/’330 patent provide any disclosure that the inventor considered any
      of the material properties of plate 240 (e.g., compliancy, bendability, hardness, resilience,
      etc.) to be an aspect of the invention. Rather, a compliant insert 334 was disclosed for the
      first time in the 2011 provisional.

52.   In fact, in the IPR filed by Asetek against CoolIT’s ’266 patent, the Patent Trial and
      Appeal Board (PTAB) agreed with Asetek that “the 2007 Provisional does not contain a
      disclosure that would have conveyed to a POSITA that the inventor had possession of a
      ‘manifold body defin[ing] a pair of compliant surfaces[.]’” IPR2020-00825, Final Written
      Decision, at 23. The PTAB also found that the “inventor’s substitution of the phrase rigid
      plate’ for the phrase ‘plate 240’ [in the ’266 patent] is objective, intrinsic evidence that as
      of 2012, the inventor considered plate 240 (which he was contrasting with compliant
      insert 334) to be made of a rigid, rather than compliant, material.” Id. at 26. As the PTAB
      found, the term “plate” in the ’330 patent claims (as well as the ’284 patent claims, and
      claims 13 and 15 of the ’266 patent) cannot be construed to include both a rigid plate as
      well as a compliant gasket/manifold (as in Asetek’s Gen 5, 6, and 7 products) because
      there is no written description support for a compliant manifold body in the 2007
      provisional or the ’330 patent.

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53.   Because the claim term “plate” means a rigid (non-compliant) structure unlike the gasket
      in Asetek’s Gen 5, 6, and 7 products, the accused Asetek Gen 5, 6, and 7 products do not
      include the limitations “a plate positioned over the distal ends of the plurality of fins,” “a
      plate positioned over the juxtaposed fins,” and “an apertured plate positioned over the
      microchannels” of independent claims 1, 12, and 14. Accordingly, Asetek’s Gen 5, 6, and
      7 products do not infringe the asserted claims of the ’330 patent.

      B.     The asserted claims of the ’284 patent are not infringed by the accused
             Asetek products

54.   As described in detail below, the accused Gen 4-7 Asetek products do not literally
      infringe the asserted claims 1, 3, 5, 15, and 20 of ’284 patent because each element of the
      claims, as construed by the Court, is not present in the accused Asetek products.

55.   Specifically, the limitation “an elongate inlet opening in fluid communication with each
      of the microchannels” in independent claim 1 and the limitation “an elongate inlet
      opening to the microchannels” in independent claim 15 are not present in each
      Generation of Asetek products. Moreover, Asetek’s Generation 5, 6, and 7 products do
      not include a “plate positioned over the plurality of walls” as required by claims 1 and 15.

             1.      Asetek’s Generation 4, 5, 6, and 7 products do not include “an
                     elongate inlet” as required by the asserted independent claims 1 and
                     15

56.   For each of the Asetek Gen 4, 5, 6 and 7 products, Dr. Pokharna points to the groove in
      the gasket/plate as an “elongate inlet opening.” But as discussed above with respect to the
      ’330 patent, the groove in the gasket is not an “elongate inlet opening.” I am
      incorporating by reference here my discussion in ¶36 of this Report.




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Pokharna Infringement Report, Exhibit B, at 6, 19 (showing alleged “elongate inlet
opening” of representative Gen 4 product)




Pokharna Infringement Report, Exhibit B, at 29, 41 (showing alleged “elongate inlet
opening” of representative Gen 5 product)
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      Pokharna Infringement Report, Exhibit B, at 51, 64 (showing alleged “elongate inlet
      opening” of representative Gen 6 product)




      Pokharna Infringement Report, Exhibit B, at 74, 87 (showing alleged “elongate inlet
      opening” of representative Gen 7 product)

57.   The opening/hole in the gasket, depicted by the red boxes below, is the actual inlet into
      the microchannels. But the opening/hole in the gasket is not “elongate,” as required by
      claims 1 and 15. Nor does it open to, or is in direct fluid communication with each of the
      microchannels. Rather, the opening/hole is short (relative to the plurality of
      microchannels) and extends over only a few of the fins/microchannels. That is, the
      opening/hole by itself, i.e., without the groove in the gasket, does not satisfy the
      limitations of independent claims 1 and 15.

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58.   In sum, the limitation “an elongate inlet opening in fluid communication with each of the
      microchannels” in independent claim 1 and the limitation “an elongate inlet opening to
      the microchannels” in independent claim 15 are not present in each Generation of Asetek
      products. Therefore, the claims 1, 3, 5, 15 and 20 of the ’284 patent are not literally
      infringed by the accused Asetek products. Additionally, the limitation “plate positioned
      over the plurality of walls” is not present in the accused Generation 5, 6, and 7 products.
      This is an independent reason why claims 1, 3, 5, 15 and 20 of the ’284 patent are not
      infringed by the accused Generation 5, 6, and 7 products.

             2.      Asetek’s Generation 5, 6, and 7 products do not include a “plate
                     positioned over the plurality of walls” as required by the asserted
                     independent claims 1 and 15

59.   As discussed above with respect to the ’330 claims, the limitation “plate positioned over
      the plurality of walls” in the asserted ’284 patent claims cannot be equated to the gasket
      over the microchannels in Asetek’s Generation 5, 6, and 7 products. This is because the
      “plate” disclosed and claimed in the ’284 patent cannot be interpreted broadly to include
      both a rigid plate (i.e., the plate 240 disclosed in the ’284 patent) and a compliant
      manifold body because there is no written description support for a compliant manifold
      body in the ’284 patent (or the ’330 patent/2007 provisional to which the ’284 patent
      claims priority).




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   I incorporate by reference here my discussion in ¶¶ 41-53RIWKLV5HSRUWwhich applies
      equally to the’284 patent claims and disclosure.

   In short, a skilled artisan will understand the “plate positioned over the plurality of walls”
      to be a rigid plate in view of the ’284 patent’s disclosure and how the term “plate” is
      generally used in the relevant field of art. The gasket in Asetek’s Gen 5, 6, and 7 products
      is not a rigid plate, rather it is a compliant manifold body as disclosed and claimed in the
      ’567 and ’266 patents. Therefore, the rubber gasket in Asetek’s Gen 5, 6, and 7 products
      is not the claimed “plate” as that term would be understood by those skilled in the art.
      Accordingly, Asetek’s Gen 5, 6, and 7 products do not infringe the asserted claims of the
      ’284 patent because the claim limitation “plate positioned over the plurality of walls” is
      not present in any of those accused products.

      &     The asserted claims 13 and 15 of the ’266 patent are not infringed by the
             accused Asetek products

   The accused Asetek Generation 4, 5, 6 and 7 products do not include the limitation “the
      two sub flows recombine in the outlet passage” of independent claim 13, and Asetek
      Generation 5, 6 and 7 products additionally do not include the limitation “a plate
      overlying the walls” of independent claim 13. Therefore, Asetek’s Generation 4, 5, 6 and
      7 products do not infringe claim 13 and claim 15 (which depends from claim 13).

   Moreover, Asetek Generation 4, 5, 6 and 7 products do not include the limitation “the
      outlet opening from the centrally located microchannel is larger than the outlet opening
      from at least one of the larger microchannels” of dependent claim 15. This is an
      independent reason why the Generation 4, 5, 6 and 7 products do not infringe claim 15.

                   Asetek’s Generation 4, 5, 6 and 7 products do not include the
                     limitation “the two sub flows recombine in the outlet passage” of
                     independent claim 13

   Independent claim 13 recites that cooling liquid splits into two sub-flows in each
      microchannel, the sub-flows exit adjacent the microchannel first and second ends, and
      “the two sub flows recombine in the outlet passage.” Asetek’s Generation 4, 5, 6, and 7
      products have two separate, non-overlapping outlet passages, as shown below, and each


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             2.      Asetek’s Generation 5, 6 and 7 products do not include the limitation
                     “a plate overlying the walls” of independent claim 13

   As discussed with respect to the claims of the ’330 and ’284 patents, the limitation “a
      plate overlying the walls” of claim 13 cannot be equated to the rubber gasket over the
      microchannels in Asetek’s Generation 5, 6, and 7 products. This is because the “plate”
      disclosed and claimed in the ’266 patent cannot be interpreted broadly to include both a
      rigid plate (i.e., plate 240) and a compliant manifold body (i.e., insert 334). A person
      skilled in the art would not use the term “plate” to mean a compliant gasket as inAsetek’s
      Generation 5, 6, and 7 products; rather a person skilled in the art wouldunderstand and
      use the term “plate” to mean a rigid structure such as plate 240. Indeed,CoolIT itself
      distinguishes between a “plate” and a compliant gasket by claiming a
      “manifold body [over the fins] defines a pair of compliant surfaces” in claims 1-12 and a
      “plate overlying the walls” in claims 13 and 15. The specification of the ’266 patent also
      draws a clear distinction between compliant insert 334 and rigid plate 240. See ’266
      patent, 15:48-16:12. If “plate” could be interpreted broadly to include both a rigid plate
      and a compliant gasket (as in Asetek’s Gen 5, 6, and 7 products), CoolIT would not have
      used different terminologies — “manifold body” as opposed to “plate” — in independent
      claims 1 and 13, respectively.

   I incorporate by reference here my discussion in ¶¶ 41-53,DERYH which applies equally to
      claims 13 and 15 of the ’266 patent.

   In short, a skilled artisan would understand the “plate overlying the walls” to be a rigid
      plate in view of the ’266 patent’s disclosure and how the term “plate” is generally used in
      the relevant field of art. The gasket in Asetek’s Gen 5, 6, and 7 products is not a rigid
      plate, rather it is a compliant manifold body, such as “insert 334.” Therefore, the gasketin
      Asetek’s Gen 5, 6, and 7 products is not the claimed “plate” in claims 13 and 15.
      Accordingly, Asetek’s Gen 5, 6, and 7 products do not infringe the asserted claims 13 and
      15 of the ’266 patent because the claim limitation “plate overlying the walls” is not
      present in any of those accused products.




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69.   I understand that CoolIT has not made this argument, but if CoolIT argues that the term
      “plate” encompasses both rigid plate 240 and compliant insert 334 (which I do not agree
      with for the reasons explained above), then the earliest priority date of claims 13 and 15
      would be July 27, 2011 when Provisional Appl. No. 61/512,379, which first disclosed
      compliant insert 334, was filed. In that case, additional prior art references, such as
      Bezama (U.S. Patent Publication No. 2010/0012294), the Koolance device, and CoolIT’s
      own prior patent publication (U.S. Patent Publication No. 2009/0071625, published Mar.
      19, 2009, to Lyon (“Lyon”)) becomes prior art to claims 13 and 15. Therefore, if CoolIT
      argues that the term “plate” encompasses both rigid plate 240 and compliant insert 334, I
      reserve the right to supplement my Invalidity Report to show how claims 13 and 15 of the
      ’266 patent are invalidated at least by Lyon, Bezama, and Koolance, alone or in
      combination. As an example, I have shown in Exhibit B how Lyon anticipates claims 13
      and 15 if the priority date of those claims is July 2011. I am also incorporating by
      reference here my discussion of the Koolance device in pages 66-68 and Bezama in pages
      69-72 of my Initial Invalidity Report served on September 16, 2021.

             3.      Asetek’s Generation 4, 5, 6 and 7 products do not include the
                     limitation “the outlet opening from the centrally located microchannel
                     is larger than the outlet opening from at least one of the outer
                     microchannels” of dependent claim 15

70.   Dr. Pokharna maps the entire “first outlet region” to the “outlet opening[s]” from the
      microchannels. See Pokharna Infringement Report, Ex. D at 13, 35, 58, 80. For the ’284
      patent, Dr. Pokharna again maps the same “outlet region” portion of the device to the
      claimed “outlet flow path.” Compare id. with Pokharna Infringement Report, Ex. B at 10,
      23, 32, 45, 55, 68, 78, 91. But “outlet opening” and “outlet flow path” cannot mean the
      same feature of the accused devices because different claim terms must have different
      meanings.

71.   I disagree that the “outlet opening” is the same as the “first/second outlet region” or the
      “outlet flow path” in the accused Asetek devices. In fact, if “outlet region” was the same
      as the claimed “outlet opening,” then there would be no difference in scope and meaning
      between claims 14 and 15 of the ’266 patent. Contrary to Dr. Pokharna’s opinion, the
      claimed “outlet opening” is just the area where the plate (Gen 4) or gasket (Gen 5, 6, 7)

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      the microchannel,” i.e., “just the area as the liquid exits [] the microchannels.” Id. at
      120:8-17. Therefore, Dr. Pokharna’s opinion mapping the “outlet opening” to the entire
      “first outlet region” is inconsistent with Mr. Lyon’s testimony.

73.   Mr. Lyon further testified that in the embodiment shown in Figure 2 of the ’266 patent,
      the “outlet opening” from a centrally-located microchannel was larger than the “outlet
      opening” from an outer microchannel because of the scalloped plate. See id. at 119:12-
      120:14. Indeed, the scalloped inner edges on the plate was used in Mr. Lyon’s alleged
      invention to reduce the length of enclosed microchannels in the central area, thereby
      reducing their flow resistance and generating higher flow rates in the central
      microchannels for more effective cooling in the central area (which is often the hottest
      portion of an electronic chip). See ’266 patent, 12:3-18. Once there is no covering plate
      over the microchannels (i.e., once the microchannel flow passes the scalloped inner
      edge), the flow will no longer remain confined between the walls of the narrow
      microchannels, but instead will almost immediately exit vertically. This is because
      microchannels have very high flow resistance and so the fluid will prefer to take the
      lowest resistance path (which is to not continue flowing inside the microchannels when
      there is no overhead wall constraining the flow to the microchannels). Thus, the larger
      “outlet opening” in the central region meant that there is more length of uncovered
      microchannels. In the Asetek designs, however, the straight inner edge of the plate (Gen
      4) or gasket (Gen 5, 6, 7) results in equal uncovered lengths for all the microchannels.
      The fact that the outer edges of the gasket have a slight taper/bevel near the ends in some
      Asetek designs is immaterial, because by the time fluid reaches the taper/bevel, the fluid
      has already exited the microchannels and is in the header region, and hence the
      taper/bevel has no significant impact on flow velocities in the individual microchannels.

74.   More specifically, in the accused Asetek Generation 4, 5, 6, and 7 devices, the plate or
      gasket over the microchannels is not scalloped (e.g., as in Figure 2 of the ’266 patent),
      rather the edge of the plate or gasket is straight and extends to the ends of the
      microchannels. Therefore, the “outlet opening” from each microchannel is the same size.
      That is, the “outlet opening” from a centrally located microchannel is the same size as an



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“outlet opening” from at least one of the outer microchannels. Accordingly, claim 15 of
the ’266 patent is not infringed by the accused Asetek Generation 4, 5, 6, and 7 products.




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VI.    NOTICE AND SUPPLEMENTATION

85.    For the purpose of preparing this Non-Infringement Report, I have reviewed the
       materials and made the inquiries that I believe are appropriate considering the evidence
       available at this time. I understand that I will have the right to supplement or amend
       this Report in the event that additional evidence or information pertinent to my opinions
       becomes available, and I plan to do so. I may also provide further rebuttal to any
       opinions of other fact and expert witnesses, should I be requested to do so.

86.    I reserve the right to update my opinions based on any additional relevant information in
       any form. This may include, but is not limited to, CoolIT/Corsair’s expert reports,
       deposition testimony and exhibits, pretrial briefs, trial testimony, etc.



        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
        Executed this 8th day of December, 2021.




                                                David B. Tuckerman, Ph.D.




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